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 6

 7                                UNITED STATES DISTRICT COURT
                                      DISTRICT OF ARIZONA
 8

 9    Pete C. Taylor,
                                                    Case No. 4:20-cv-00494-CKJ
10                       Plaintiff,
11                                                  MOTION TO EXTEND TIME TO FILE
             v.                                     RESPONSE TO DEFENDANT’S MOTION TO
12                                                  DISMISS
      IC System, Inc.,
13
                         Defendant.
14

15
           NOW COMES Pete C. Taylor (“Plaintiff”), by and through his undersigned counsel,
16
     moving this Honorable Court to extend the time for Plaintiff to file his response to Defendant IC
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18   System, Inc.’s (“Defendant”) Motion to Dismiss, and in support thereof, stating as follows:

19      1. On June 4, 2021, Plaintiff filed an Amended Complaint against Defendant seeking redress

20   for violations of the Fair Debt Collection Practices Act (“FDCPA”). [Dkt. 22]
21
        2. On June 21, 2021, Defendant filed a Motion to Dismiss Plaintiff’s claims in their entirety
22
     (“Defendant’s Motion”). [Dkt. 23]
23
        3. Pursuant to Local Rule 7.2(c), Plaintiff’s deadline to submit his response to Defendant’s
24
     Motion is July 6, 2021.
25

26      4. Due to other professional deadlines, and despite the undersigned’s best efforts, Plaintiff will

27   not be able to submit his response to Defendant’s Motion by the current deadline of July 6, 2021.
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                                                       1
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 1       5. Accordingly, Plaintiff is seeking a 21-day extension, through July 27, 2021, to submit his
 2   response to Defendant’s Motion.
 3
         6. Counsel for Plaintiff conferred with Defendants’ counsel about the relief sought herein,
 4
     and Defendant agreed to a 7-day extension.
 5
         7. The extension of time is not meant for purposes of unnecessary delay and will not prejudice
 6

 7   any party in the litigation.

 8           WHEREFORE, Plaintiff respectfully requests that the Court enter an order (1) extending

 9   the deadline for Plaintiff to submit his response to Defendant’s Motion through July 27, 2021 and
10
     (2) extending Defendant’s deadline to submit its reply through August 3, 2021, and for any other
11
     relief this Court deems appropriate.
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13
                                                          Respectfully submitted,
14
                                                          /s/ Jennifer Ann Filipiak
15                                                        Jennifer Ann Filipiak
16                                                        (Ill. Bar No. 6315340)
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23                                    CERTIFICATE OF SERVICE

24           I, Jennifer Ann Filipiak, certify that on July 6, 2021, the foregoing document was filed
     electronically using the Court’s CM/ECF system, which will accomplish service on all counsel of
25   record.

26                                                        /s/ Jennifer Ann Filipiak

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                                                      2
